              Case 1:16-cr-00069-AWI-SKO Document 889 Filed 08/25/20 Page 1 of 2



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 6
   Attorneys for Plaintiff
 7 United States of America

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 9                               IN THE UNITED STATES DISTRICT COURT

10                                  EASTERN DISTRICT OF CALIFORNIA

11
     UNITED STATES OF AMERICA,                          CASE NO. 1:16-CR-00069-NONE
12
                                  Plaintiff,            STIPULATION AND ORDER REGARDING
13                                                      BRIEFING SCHEDULE ON DEFENDANT’S
                            v.                          MOTION FOR REDUCTION IN SENTENCE AND
14                                                      COMPASSIONATE RELEASE
     WILLIAM LEE,
15
                                 Defendant.
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17
                                                    STIPULATION
18
              1.    Defendant William Lee filed a motion for reduction in sentence and compassionate
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     release on August 19, 2020. Docket No. 885. By local rule, the government’s response is due by
20
     August 26, 2020. Government counsel requests additional time to obtain records and draft the response
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     brief.
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              2.    Counsel for the defendant does not oppose this request.
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          Case 1:16-cr-00069-AWI-SKO Document 889 Filed 08/25/20 Page 2 of 2



 1         3. Accordingly, by this stipulation, the parties now request that:

 2                 a)     The government’s opposition or response to defendant’s motion, Docket No. 885,

 3 be due on September 11, 2020; and

 4                 b)     The defense reply, if any, will be due on September 18, 2020.

 5

 6         IT IS SO STIPULATED.

 7
                                                         McGREGOR W. SCOTT
 8                                                       United States Attorney
 9   Dated: August 20, 2020
                                                         /s/ Jeffrey A. Spivak
10                                                       JEFFREY A. SPIVAK
                                                         Assistant United States Attorney
11

12
     Dated: August 20, 2020                              /s/ Barbara O’Neill
13                                                       BARBARA O’NEILL
                                                         Counsel for Defendant
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16                                                  ORDER
17         Pursuant to the stipulation of the parties, the government’s opposition or response to defendant’s
18 motion is due on September 11, 2020. The defense reply, if any, will be due on September 18, 2020.

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20 IT IS SO ORDERED.

21      Dated:    August 24, 2020
                                                     UNITED STATES DISTRICT JUDGE
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